                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                VINTAGE PLAZA LIMITED, A                              No. 65697
                NEVADA CORPORATION,
                Appellant,
                vs.
                FIRST AMERICAN TITLE INSURANCE
                COMPANY, A CALIFORNIA                                      FILED
                CORPORATION; FIRST AMERICAN
                                                                           JAN 1 4 2016
                TITLE COMPANY, A CALIFORNIA
                CORPORATION; AND FIRST                                  TRACE K. UNDEMAN



                                                                                7:=
                                                                      CLERK F:51/PREME COURT

                AMERICAN TITLE OF NEVADA, A                           BY
                                                                           DEPUT
                                                                               C*
                DISSOLVED AND MERGED NEVADA
                CORPORATION,
                Respondents.
                VINTAGE PLAZA LIMITED, A                               No. 66219
                NEVADA CORPORATION,
                Appellant,
                vs.
                FIRST AMERICAN TITLE INSURANCE
                COMPANY, A CALIFORNIA
                CORPORATION; FIRST AMERICAN
                TITLE COMPANY, A CALIFORNIA
                CORPORATION; AND FIRST
                AMERICAN TITLE OF NEVADA, A
                DISSOLVED AND MERGED NEVADA
                CORPORATION,
                Respondents.

                          ORDER AFFIRMING IN PART, VACATING IN PART
                              AND REMANDING (DOCKET NO. 65697)
                               AND VACATING (DOCKET NO. 66219)
                            These are consolidated appeals from a district court summary
                judgment in a slander of title action (Docket No. 65697) and a post-
                judgment award of attorney fees and costs (Docket No. 66219). Eighth
                Judicial District Court, Clark County; Carolyn Ellsworth, Judge.
                Docket No. 65697

SUPREME COURT
                            The district court granted summary judgment on Vintage
      OF
    NEVADA      Plaza's claim for slander of title, concluding that Vintage Plaza had failed
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                to present admissible evidence to establish the malice and the special
                damages elements of its claim, as well as that the claim was barred by the
                statute of limitations. We agree with the district court's conclusion that
                Vintage Plaza failed to present admissible evidence to establish the malice
                element. 1 See Cuzze v. Univ. &amp; Cmty. Coll. Sys. of Nev.,     123 Nev. 598,

                602-03, 172 P.3d 131, 134 (2007) ("[I]f the nonmoving party will bear
                the burden of persuasion at trial, the party moving for summary
                judgment may satisfy the [summary judgment standard] by . . .
                pointing out . . . that there is an absence of evidence to support the
                nonmoving party's case." (internal quotation omitted));             Wood v.
                Safeway, Inc., 121 Nev. 724, 729, 121 P.3d 1026, 1029 (2005) (reviewing
                de novo a district court's decision to grant summary judgment). In
                particular, we agree that Ms. Skinner's failure to conduct a more
                thorough investigation did not amount to a "reckless disregard" for
                whether the property description at issue was accurate. 2 See Rowland
                v. Lepire, 99 Nev. 308, 313, 662 P.2d 1332, 1335 (1983) ("In order to prove
                malice it must be shown that the defendant knew that the statement was
                false or acted in reckless disregard of its truth or falsity."). Accordingly,
                we affirm the district court's summary judgment on Vintage Plaza's
                slander of title claim.
                             We conclude, however, that the district court's NRCP 12(b)(5)
                dismissal order was in error, as it did not take into account how Vintage


                      1We therefore do not consider the remaining bases for the district
                court's summary judgment.

                         the extent that Vintage Plaza argues that the conduct of Ms.
                      2 To
                Skinner, Ms. Seibold, and Ms. Caballero constituted malice, we are not
                persuaded by that argument.
SUPREME COURT
        OF
     NEVADA
                                                      2
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                   Plaza's updated title insurance policy may have affected the viability of
                   the claims that were dismissed.      See Buzz Stew, LLC v. City of N. Las
                   Vegas, 124 Nev. 224, 228,181 P.3d 670, 672 (2008) (observing that NRCP
                   12(b)(5) dismissal is appropriate "only if it appears beyond a doubt that
                   [the plaintiff] could prove no set of facts, which, if true, would entitle it to
                   relief'). Accordingly, we vacate the district court's NRCP 12(b)(5)
                   dismissal order and remand this matter for consideration of whether
                   Vintage Plaza's claims may be viable based on the updated title insurance
                   policy.
                   Docket No. 66219
                               In light of our decision to vacate the district court's NRCP
                   12(b)(5) dismissal order, we vacate the district court's award of attorney
                   fees and costs being challenged in Docket No. 66219.
                               It is so ORDERED.




                                            Hardesty


                                                J.                                           J.
                   Saitta



                   cc: Hon. Carolyn Ellsworth, District Judge
                        Craig A. Hoppe, Settlement Judge
                        Johnson &amp; Gubler, P.C.
                        Early Sullivan Wright Gizer &amp; McRae, LLP
                        Eighth District Court Clerk




SUPREME COURT
      OF
    NEVADA


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